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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division


   DONALD J. TRUMP,

                           Plaintiff,                            Case No. 23-cv-21377-DPG

                  v.

   MICHAEL D. COHEN,

                           Defendant.


                        DEFENDANT’S AMENDED MOTION FOR HEARING
                       (amending S.D. Fla. L. R. 7.1(a)(3) certificate of conferral)

          Defendant, Michael D. Cohen, by and through undersigned counsel and pursuant to this

   Court’s Order Setting Discovery Procedures, identifies the following issues to be heard during the

   discovery hearing to be scheduled for Thursday, September 21, 2023 or the Court’s preferred date, 1

   in person at the James Lawrence King Federal Justice Building, 99 N.E. Fourth Street, Tenth Floor,

   Courtroom Five, Miami, Florida 33132:

           I.      Plaintiff’s Deficient Rule 26(a)(1) Initial Disclosures

          Plaintiff has served a pro forma set of initial disclosures that, in fact, disclose nothing. Five

   months after bringing this case and with just three weeks before trial witness lists are due [D.E. 27

   ¶ 3], Plaintiff still has not provided any information about the scope, nature, or basis of his

   supposed injuries—or the over $500 million in damages he seeks. Defendant seeks an order

   compelling Plaintiff to produce initial disclosures that comply with all three of Rule 26(a)(1)’s

   main requirements:


   1
    Undersigned counsel’s phone call and emails to Plaintiff’s counsel to confirm his availability for
   a hearing have gone unanswered. Defendant’s counsel is available any time in the morning of
   Thursday, September 21.
                                                     1
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      •   Identifying Witnesses. Fed. R. Civ. P. 26(a)(1)(A)(i) requires the disclosure of the name
          and contact information for individuals likely to have discoverable information that the
          disclosing party may use, but Plaintiff identified only two individuals: himself and
          Defendant (plus a catchall for any individuals Defendant happened to have listed in his
          disclosures). Rule 26(a)(1)(A)(i) also requires the disclosure of the subject of information
          those individuals likely have, but Plaintiff noted only that the two individuals he identified
          “are likely to have knowledge regarding the issues framed by the pleadings in this case.”

      •   Identifying Documents. Fed. R. Civ. P. 26(a)(1)(A)(ii) requires either the production of—
          or a description of the category and location of—documents in the disclosing party’s
          custody that it may use to support its claims. Plaintiff provided only a boilerplate response
          of “any and all documents produced” by either party in discovery.

      •   Damages. Fed. R. Civ. P. 26(a)(1)(A)(iii) requires both “a computation of each category
          of damages” and the production of the documents or other evidence that form the basis of
          that computation, “including materials bearing on the nature and extent of injuries
          suffered.” Plaintiff produced no documents and merely pasted the first three paragraphs of
          the “Prayer for Relief” from his Complaint with minimal rewording. Needless to say,
          Plaintiff provides no computations, detail, or analysis to justify his pursuit of over $500
          million.

           II.    Defendant’s Renewed Motion to Compel Production of Injury- and Damages-
                  Related Documents

          Given Plaintiff’s continued failure to produce documents related to his purported injuries

   and damages, Defendant renews his motion to compel production of documents responsive to his

   Requests for Production Nos. 59, 60, 61, 64, and 65–69, which address Plaintiff’s claimed injuries

   and damages. The motion to compel was deferred in anticipation that Plaintiff’s initial disclosures

   would provide at least some of the requested information.


           III.   Plaintiff’s Failure to Comply with Fed. R. Civ. P. 34(b)(2)(E)

          Pursuant to Rule 34(b)(2)(E) of the Federal Rules of Civil Procedure, parties must “produce

   documents as they are kept in the usual course of business or must organize and label them to

   correspond to the categories in the request” and “produce [ESI] in a form or forms in which it is

   ordinarily maintained or in a reasonably usable form or forms.” Although Steven Yurowitz’s

   declaration makes it clear that Plaintiff did not produce documents as they are kept in the usual


                                                    2
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   course of business, Plaintiff’s counsel has rejected the undersigned counsels’ repeated requests

   that he specify which documents are responsive to which request. Instead, Plaintiff has delivered

   each of his productions as one, consolidated pdf file with no way to definitively determine which

   documents should have been produced as native ESI or even where one document ends and the

   next begins.

          Defendant seeks an order compelling Plaintiff to comply with his production obligations

   under Fed. R. Civ. P. 34(b)(E).

           IV.     Plaintiff’s Deficient Searches

          Declarations submitted by Steven Yurowitz and Plaintiff describe a plainly deficient

   search—in addition to failing to disclose key elements of the search process as would be required

   pursuant to Defendant’s pending Motion for Entry [D.E. 61-1]. Defendant seeks an order

   compelling Plaintiff to conduct—and certify the completion of—the requisite reasonable inquiry

   to locate responsive documents.

          Most significantly, Steven Yurowitz apparently only “search[ed] for and identif[ied]

   documents in the possession of [the Trump Organization].” There is no suggestion that

   Mr. Yurowitz, or anyone else, searched files in the possession of Mr. Trump himself. This

   contradicts Plaintiff’s counsel’s representation to the Court. 2 As a result, many repositories that

   Plaintiff’s other attorneys have identified as containing Plaintiff’s files from the relevant period

   appear to have gone entirely unsearched. See, e.g., Ex. 1 Affidavit of Compliance with Subpoena




   2
     Mr. Yurowitz’s declaration contradicts the representations made by Plaintiff’s counsel at the
   discovery hearing on September 5, 2023: “I am representing to the Court in communications that
   I have had with Alan Garten, who is the Chief Legal Officer or General Counsel for the Trump
   Organization, that we have gone beyond. And not just going through Mr. Trump’s personal files,
   but we’ve gone through the Trump Organization to gather all of these documents.” Sept. 5, 2023
   Hr’g Tr. 13:19-24.
                                                    3
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   from Alina Habba (representing Donald Trump), filed in People of the State of New York v. The

   Trump Organization, et al., 451685/2020 D.E. 769, at 2–29 (N.Y. Sup Ct, May 6, 2022).

   Unsearched repositories appear to include Plaintiff’s “correspondence files” (id. ¶ 14); Plaintiff’s

   phones (which are not issued by the Trump Organization) (id. ¶ 22.a); Plaintiff’s residence and

   personal office at the Trump National Golf Club in Bedminster (id. ¶¶ 22.b, c); Plaintiff’s residence

   and personal office at Mar-a-Lago (id. ¶¶ 22.d, e); Plaintiff’s residence in Trump Tower (id. ¶

   22.f); Plaintiff’s office in the Trump Organization’s corporate offices and his associated file

   cabinets, storage closets and rooms, and offsite document storage facilities (id. ¶¶ 23, 24).

          Additionally, the search terms used are unreasonably narrow: 3

              •   “Michael Cohen” AND “Bonus”
              •   “Cohen” AND (“resignation” or “termination”)
              •   “Essential Consultants”
              •   “Stephanie Clifford”
              •   Some ambiguous search(es) related to “Cohen’s book manuscript, Cohen’s books
                  Disloyal or Revenge or Cohen’s podcasts.”
              •   “desist” AND “Cohen” AND “Harder”

          The deficiencies in Plaintiff’s searches are not just theoretical. For example, the

   undersigned located an email related to Plaintiff’s settlement with Stephanie Clifford between

   Defendant (via his Trump Organization email account) and Stephanie Clifford’s attorney, Keith

   Davidson, that would not be captured by any of Plaintiff’s search terms but is unambiguously

   responsive to at least Request No. 40. Ex. 2, Responsive Email from Oct. 26, 2016, at 36. 4 The

   undersigned located this document via a quick Google search, yet this document would not have

   been captured by the Plaintiff’s very limited search terms.



   3
     The Declaration does not clarify what email repositor(ies) were searched, what date limitation(s)
   were imposed (if any), what the hit counts were, or any other basic details about the searches.
   4
     Available at: https://www.fec.gov/files/legal/murs/7313/7313_08.pdf.
                                                    4
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                         CERTIFICATE OF GOOD FAITH CONFERRAL

          Pursuant to S.D. Fla. L. R. 7.1(a)(3), undersigned counsel for Defendant certifies that he

   has made reasonable efforts to confer with Plaintiff’s counsel in a good faith effort to resolve the

   issues raised herein, including extensive communications regarding Defendant’s requests for

   documents and information related to Plaintiff’s purported injuries and damages and Plaintiff’s

   failure to comply with Fed. R. Civ. P. 34(b)(2)(E). (E.g., emails on June 30, 2023 at 11:34 AM;

   July 18, 2023 at 5:32 PM; Sept. 6, 2023 at 8:15 PM; Sept. 6, 2023 at 8:15 PM; Sept. 7, 2023 at

   5:16 PM (response from Plaintiff refusing Fed. R. Civ. P. 34(b) requests).) For the remaining

   issues, the undersigned emailed Defendant’s counsel on September 14, 2023 at 9:02 PM and called

   him at 11:00 AM on September 15, 2023. No telephone conversation has occurred regarding some

   of these issues. Notwithstanding that Plaintiff’s counsel was able to file a response to this Motion,

   he still has not returned the undersigned’s most recent emails or calls seeking to meet and confer.

   Given the need to (i) address these issues in an expedited fashion due to Plaintiff’s upcoming and

   twice-rescheduled deposition on October 3, 2023 and (ii) meet the Court’s deadline for filing to

   get this matter set for hearing in the forthcoming week, Defendant proceeded to file this Motion.

                                                         Respectfully submitted,

                                                         By: /s/ Benjamin H. Brodsky
                                                         Benjamin H. Brodsky
                                                         Florida Bar No. 73748
                                                         Max A. Eichenblatt
                                                         Florida Bar No. 1025141
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                                                         E. Danya Perry

                                                    5
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                                                      New York Bar No. 2839983
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                                                      Fax: (646) 849-9609
                                                      ltimmermann@danyaperrylaw.com

                                                      Counsel for Defendant Michael D. Cohen


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this September 17, 2023, a copy of this filing was submitted

   electronically via the CM/ECF system to all parties that have entered an appearance in this case

   and on the Court’s electronic system.

                                                      By: /s/ Benjamin H. Brodsky
                                                              Benjamin H. Brodsky




                                                  6
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                     EXHIBIT 1
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                                                                                                     Alina Habba, Esq.
                                                                                                    Managing Partner
                                                                                             ahabba@habbalaw.com
                                                                                    Admitted to practice in NJ, NY & CT




                                                                                        May 6, 2022
   Via NYSCEF
   Hon. Arthur F. Engoron, J.S.C.
   Supreme Court of the State of New York
   60 Centre Street, Room 519
   New York, NY 10007

              Re:     People v. Trump, et. al.
                      Docket No.: 451685/2020

   Dear Judge Engoron,

          We write in accordance with the Decision and Order dated April 29, 2022 (the “Order”)
   (NYSCEF No. 768), which directed respondent, Donald J. Trump (“Respondent”) to comply with
   the Office of the Attorney General’s (“OAG”) subpoena and provide additional affidavits
   evidencing that a detailed search to locate and produce responsive documents.

          Without waiving any rights to contest the validity of the above-referenced Order on appeal,
   enclosed herein, please find the following:

              (i)     Affidavit of Compliance of Alina Habba, Esq. dated 5/6/22;
              (ii)    Affidavit of Compliance of Michael T. Madaio, Esq. dated 5/6/22;
              (iii)   Affidavit of Donald J. Trump dated 5/6/22 and a Certificate of Conformity;
              (iv)    Affidavit of Eric Brunnett dated 5/6/22 1;
              (v)     Affidavit of Chris Herndon dated 5/6/22; and
              (vi)    Schedule A (revised).

          In accordance and compliance with the Order, we respectfully renew our request that this
   Court purge the finding of civil contempt.

              We thank the Court for its attention to this matter.

   Dated: May 6, 2022                                   Respectfully submitted,
          New York, New York

                                                   By: ___________________________________
                                                       Alina Habba, Esq.
                                                       For HABBA MADAIO & ASSOCIATES LLP
   Encl.
   cc:   Kevin Wallace (kevin.wallace@ag.ny.gov)
         Colleen Faherty (colleen.faherty@ag.ny.gov)
   1
       To be supplemented with a notarized copy on or before Monday, May 9, 2022.


                                                           1
                                                                                                      Ex. 1_001
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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NEW YORK

    PEOPLE OF THE STATE OF NEW YORK, by                Index No.: 451685/2020
    LETITIA JAMES, Attorney General of the State
    of New York,

                          Petitioner,

                  v.                                       AFFIDAVIT OF COMPLIANCE
                                                                WITH SUBPOENA
    THE TRUMP ORGANIZATION, INC., DJT
    HOLDINGS LLC, DJT HOLDINGS
    MANAGING MEMBER LLC, SEVEN
    SPRINGS LLC, ERIC TRUMP, CHARLES
    MARTABANO, MORGAN, LEWIS &
    BOCKIUS, LLP, SHERI DILLON, DONALD J.
    TRUMP, IVANKA TRUMP, DONALD
    TRUMP, JR., and CUSHMAN AND
    WAKEFIELD, INC.,

                          Respondents.


          I, Alina Habba, Esq., being duly sworn, state as follows:

          1.     My office represents the respondent, Donald J. Trump (“Respondent”), in

   connection with the above-referenced action and is responsible for preparing and assembling

   Respondent’s production and response to the Subpoena Duces Tecum dated December 1, 2021

   (the “Subpoena”). My office also represents the respondent, The Trump Organization, Inc. (the

   “Trump Organization”) in this action.

          2.     I submit this affirmation in further compliance with Instruction C14 of the

   Subpoena and in accordance with the Court’s Order dated April 29, 2022.

          3.     Respondent previously submitted a Response and Objections to the Subpoena dated

   March 31, 2022 (the “Response”). Consistent with the Court’s Order dated April 26, 2022,

   Respondent hereby withdraws all objections raised in the Response.



                                                   1

                                                                                     Ex. 1_002
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          4.      Respondent’s productions and responses to the Subpoena are complete and correct

   to the best of my knowledge and belief.

          5.      No documents or information responsive to the Subpoena have been withheld from

   Respondent’s production and response.

          6.      Attached as Schedule A is a true and accurate record of all persons who prepared

   and assembled any productions and responses to the Subpoena, all persons under whose personal

   supervision the preparation and assembly of productions and responses to the Subpoena occurred,

   and all persons able competently to testify: (a) that such productions and responses are complete

   and correct to the best of such person’s knowledge and belief; and (b) that any Documents

   produced are authentic, genuine and what they purport to be.

          7.      As described herein, I made or caused to be made a diligent, complete and

   comprehensive search for all documents and information requested by the Subpoena, in full

   accordance with the instructions and definitions set forth in the Subpoena.

                                     Overview of Search Efforts

          8.      Commencing in January 2022, my office undertook significant, diligent, and

   comprehensive search efforts in response to the Subpoena.

          9.      Our search efforts consisted of a two-pronged approach to ensure that all responsive

   documents have been produced to the OAG: first, in coordination with co-counsel for the Trump

   Organization, LaRocca Hornik Rosen & Greenberg LLP (“TTO Co-Counsel”), the Trump

   Organization legal team including its General Counsel, Alan Garten, Esq. (the “TTO Legal

   Dept.”), and the Trump Organization IT Department (the “Trump IT Dept.”) my office performed

   a thorough review of the prior document productions and search efforts undertaken by the Trump

   Organization in response to prior subpoenas served the OAG, for the purpose of cross-checking



                                                   2

                                                                                          Ex. 1_003
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   for responsive documents that had already been produced by the Trump Organization; second, my

   office, in coordination with prior counsel for Respondent, Van der Veen, O'Neill, Hartshorn, and

   Levin (“Prior Counsel”) and co-counsel for Respondent, Fischetti & Malgieri LLP (“Co-

   Counsel”), conducted full, complete and comprehensive searches for any and all responsive

   documents that had not previously been produced by the Trump Organization to the OAG.

             10.   The steps taken by my office in furtherance of these search efforts are outlined

   herein.

             11.   From January 2022 through March 2022, I had numerous in-person meetings,

   phone calls, and communications with TTO Co-Counsel, the TTO Legal Dept, and the TTO IT

   Dept., for the purpose of assessing and verifying the extent of the searches performed in connection

   with the Trump Organization’s prior document productions and determining which documents

   responsive to the Subpoena have already been produced by the Trump Organization.

             12.   My office had numerous phone calls and communications with Prior Counsel

   concerning their search efforts that had been undertaken in connection with the Subpoena.

             13.   Prior Counsel confirmed that their office had interviewed all of Respondent’s

   executive assistants as to whether they had any documents or communications responsive to the

   Subpoena and that no such responsive documents were identified.

             14.   Prior Counsel further informed that their office conducted a search of Respondent’s

   correspondence files (the “chron files”) and produced relevant portions thereof to the NYDA. The

   Trump Organization then caused all of those same documents to be produced to the OAG on

   February 9, 2022. The production to the NYDA included the following custodial documents for

   Respondent: TTO_05439138, TTO_05439139 through TTO_05439275, TTO_05439276 through

   TTO_05439412, TTO_05439413 through TTO_05439654, TTO_05439655, TTO_05439656



                                                    3

                                                                                           Ex. 1_004
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   through TTO_05439675, and TTO_05439676. TTO Counsel further advised that the Trump

   Organization’s production to the NYDA was re-produced to the OAG in its entirety. 1

          15.     My office also had numerous phone calls and communications with co-counsel for

   Respondent, Fischetti & Malgieri LLP (“Co-Counsel”), concerning their office’s search efforts

   undertaken in connection with the Subpoena.

          16.     From January 2022 through March 2022, my office reviewed the prior document

   productions produced by the Trump Organization to the OAG.

          17.     From January 2022 through March 2022, my office reviewed attorney work product

   provided by TTO Co-Counsel which summarized, organized and identified with particularity the

   documents produced by the Trump Organization to the OAG, which I personally cross-checked

   for responsive documents as to each individual demand of the Subpoena.

          18.     From January 2022 through March 2022, I personally reviewed portions of

   Respondent’s chron files as to whether they contained any documents responsive to the Subpoena.

   Collectively, my firm performed a full, complete, and diligent search of the chron files. After the

   search, it was determined that any documents in the chron files that are responsive to the Subpoena

   had already been produced to the OAG.

          19.     From January 2022 through March 2022, I had numerous conversations with

   Respondent by telephone concerning the Subpoena, his electronic devices, the locations likely to

   house responsive documents, and whether he had any responsive documents in his possession,

   custody, or control.




   1
     The chron files produced to the OAG is comprised of 542 pages of documents and can be found
   at TTO_05439134 through TTO_05439676.
                                                   4

                                                                                          Ex. 1_005
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          20.      On March 17, 2022, I met with Respondent in-person at Mar-a-Lago and reviewed

   the Subpoena with him, including each individual demand contained therein. As to each demand,

   he verified that he did not have any responsive documents in his personal possession and that, if

   there were any responsive documents, they would be in the possession, custody, or control of the

   Trump Organization.

          21.      On April 8, 2022, Mr. Madaio and I conducted a telephone interview with

   Respondent, as per Haystack ID’s request. After completion, the completed HaystackID interview

   forms were submitted to HaystackID.

          22.      In addition, in accordance with the Order of the Hon. Arthur Engoron, J.S.C. dated

   April 29, 2022, I personally performed several additional searches to further ensure that there are

   no documents responsive to the Subpoena that have not been previously produced by the Trump

   Organization:

                a. On May 2, 2022, I interviewed Eric Brunnett, the Vice President of Information

                   Technology of the Trump Organization, to review and verify the specific phones,

                   computers and other devices that have been issued to Respondent by the Trump

                   Organization. A separate affidavit of Mr. Brunnett is attached hereto. Based on my

                   conversation with Mr. Brunnett, I understand that Respondent does not have any

                   Trump Organization-issued phones, computers, or devices in his personal

                   possession. Respondent only has two phones in his personal possession: (i) an

                   iPhone; and (ii) a new phone he was recently given by TruthSocial which is used

                   exclusively for posting on that site. Respondent’s iPhone been searched and imaged

                   twice by Chris Herndon of TechCentrics, Inc., once in March 21, 2022 and again

                   on May 4, 2022. A separate affidavit of Mr. Herndon is attached hereto.



                                                   5

                                                                                          Ex. 1_006
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            b. On May 4, 2022, I diligently searched each and every room of Respondent’s private

               residence located at Trump National Golf Club Bedminster, including all desks,

               drawers, nightstands, dressers, closets, etc. I was unable to locate any documents

               responsive to the Subpoena that have not already been produced to the OAG by the

               Trump Organization.

            c. On May 4, 2022, I diligently searched Respondent’s personal office located at

               Trump National Golf Club Bedminster, including all desks, drawers, file cabinets,

               etc. I was unable to locate any documents responsive to the Subpoena that have not

               already been produced to the OAG by the Trump Organization.

            d. On May 5, 2022, I diligently searched each and every room of Respondent’s private

               residence located at Mar-a-Lago, including all desks, drawers, nightstands,

               dressers, closets, etc. I was unable to locate any documents responsive to the

               Subpoena that have not already been produced to the OAG by the Trump

               Organization.

            e. On May 5, 2022, I diligently searched Respondent’s personal office located at Mar-

               a-Lago, including all desks, drawers, file cabinets, etc. I was unable to locate any

               documents responsive to the Subpoena that have not already been produced to the

               OAG by the Trump Organization.

            f. On May 5, 2022, I coordinated and communicated with Alan Garten via telephone

               with regard to his search of Respondent’s private residence in Trump Tower

               including all desks, drawers, file cabinets, and similar locations likely to house files

               or documents. The search did not identify any documents responsive to the

               Subpoena.



                                                  6

                                                                                          Ex. 1_007
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          23.      Further, it was agreed by all parties at the April 26, 2022 hearing that Haystack

   would perform an additional follow-up search for responsive documents stored in: (i) the file

   cabinets located outside Respondent’s office the Trump Organization’s corporate offices in Trump

   Tower; (ii) file cabinets located outside Respondent’s office the Trump Organization’s corporate

   offices in Trump Tower; (iii) the file cabinets located on the 25th and 26th floors of the Trump

   Organization’s corporate offices in Trump Tower; (iv) Respondent’s hard copy calendar files

   located in the Trump Organization’s corporate offices in Trump Tower; and (iv) off-site storage.

          24.      Based upon the foregoing, it is my understanding that, between the collective

   efforts of my office, Co-Counsel, Prior Counsel, and TTO Counsel, as well as the independent

   searches of HaystackID, the following searches have been performed of the Respondent’s physical

   documents and files at these relevant locations:

                a. Cabinets Outside of Respondent’s Office (Trump Tower)

                       i. On July 19, 2021, Owen Reidy, an attorney with the Trump Legal Dept.,

                          searched the physical documents and files located in the file cabinets located

                          outside Respondent’s office the Trump Organization’s corporate offices in

                          Trump Tower. These file cabinets have, at all relevant times, been

                          maintained by Respondent’s executive assistants, including Jessica

                          Macchia, Chelsea Frommer, Holly Lorenzo, Kelly Malley, Katie Murphy,

                          Kelli Rose, Thuy Colayco, Cammie Artusa, and Meredith McIver. As a

                          result of Mr. Reidy’s collective search efforts on that date, the following

                          custodial documents for Respondent were identified and subsequently

                          produced to the OAG: TTO_214579, TTO_214580, TTO_214581 through



                                                      7

                                                                                            Ex. 1_008
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                      TTO_214583.

                  ii. On November 12, 2021, Cynthia Arce, a paralegal with the Trump Legal

                      Dept., searched the physical documents and files located in the file cabinets

                      located outside Respondent’s office the Trump Organization’s corporate

                      offices in Trump Tower. These file cabinets have, at all relevant times, been

                      maintained by Respondent’s executive assistants, including Jessica

                      Macchia, Chelsea Frommer, Holly Lorenzo, Kelly Malley, Katie Murphy,

                      Kelli Rose, Thuy Colayco, Cammie Artusa, and Meredith McIver. No

                      custodial documents for Respondent were identified as a result of this

                      search.

                  iii. From late April through May 6, 2022, HaystackID searched the file cabinets

                      located outside Respondent’s office the Trump Organization’s corporate

                      offices in Trump Tower. Based on my review of HaystackID’s report

                      regarding this search, I understand that no custodial documents for

                      Respondent were identified.

            b. Executive Office Storage Closet / Storage Room by Respondent’s Office (Trump
               Tower)

                   i. On July 19, 2021, Owen Reidy searched the physical documents and files

                      located in the file cabinets in the Executive Office storage closet and the

                      storage room by Respondent’s office in the Trump Organization’s corporate

                      offices in Trump Tower for all of Respondent’s executive assistants. As a

                      result of Mr. Reidy’s collective search efforts on that date, the following

                      custodial documents for Respondent were identified and subsequently

                      produced to the OAG: TTO_214579, TTO_214580, TTO_214581 through

                                                8

                                                                                       Ex. 1_009
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                     TTO_214583.

                  ii. On November 12, 2021, Cynthia Arce searched the physical documents and

                     files located in the file cabinets in the Executive Office storage closet and

                     the storage room by Respondent’s office in the Trump Organization’s

                     corporate offices in Trump Tower, including the file cabinets maintained by

                     Respondent’s executive assistants, Jessica Macchia, Chelsea Frommer,

                     Holly Lorenzo, Kelly Malley, Katie Murphy, Kelli Rose, Thuy Colayco,

                     Cammie Artusa, and Meredith McIver. No custodial documents for

                     Respondent were identified as a result of this search.

                 iii. On November 23, 2021, Cynthia Arce searched the physical documents and

                     files located in the file cabinets in the Executive Office storage closet and

                     the storage room by Respondent’s office in the Trump Organization’s

                     corporate offices in Trump Tower, including the file cabinets maintained by

                     Respondent’s executive assistants, Randi Gleason, Laurden Kelly, Casey

                     Kennedy, and Jaquiline Fini. No custodial documents for Respondent were

                     identified as a result of this search.

                 iv. From late April through May 6, 2022, HaystackID searched the physical

                     documents and files located in the file cabinets in the Executive Office

                     storage closet and the storage room by Respondent’s office in the Trump

                     Organization’s corporate offices in Trump Tower for all of Respondent’s

                     executive assistants. Based on my review of HaystackID’s report regarding

                     this search, I understand that no custodial documents for Respondent were

                     identified.



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            c. File Cabinets located on the 25th and 26th Floors

                    i. On or about January 24, 2020, Maria Enriquez, an attorney with the Trump

                       Legal Dept., searched the physical documents and files located in the file

                       cabinets located on the 25th and 26th floors of the Trump Organization’s

                       corporate offices in Trump Tower. Any documents responsive to those

                       searches were produced to the OAG by the Trump Organization. No

                       custodial documents for Respondent were identified as a result of this

                       search.

                   ii. From late April through May 6, 2022, HaystackID searched physical files

                       and documents contained in file cabinets located on the 25th and 26th floors

                       of the Trump Organization’s corporate offices in Trump Tower. Based on

                       my review of HaystackID’s report regarding this search, I understand that

                       no custodial documents for Respondent were identified.

            d. Hard Copy Calendars

                    i. On July 19, 2021, Owen Reidy searched all of the hard copy calendars

                       maintained by Respondent. These hard copy calendars are located the

                       Trump Organization’s corporate offices in Trump Tower. As a result of Mr.

                       Reidy’s collective search efforts on that date, the following custodial

                       documents for Respondent were identified and subsequently produced to

                       the   OAG:     TTO_214579,       TTO_214580,       TTO_214581       through

                       TTO_214583.

                   ii. From late April through May 6, 2022, HaystackID searched the hard copy



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                      calendars maintained by Respondent in the Trump Organization’s corporate

                      offices in Trump Tower. Based on my review of HaystackID’s report

                      regarding this search, I understand that no custodial documents for

                      Respondent were identified.

            e. Off-site Storage

                   i. In mid-January, 2020, Adam Rosen, Alex Cannon, and Maria Enriquez, all

                      attorneys with the Trump Legal Dept., conducted searches of inventories

                      the off-site storage files for any documents responsive to the OAG’s

                      December 2019 subpoena. The files that were identified as potentially

                      responsive were shipped from the off-site storage facility to the Trump

                      Organization’s corporate offices at Trump Tower, where they were received

                      on or about January 15, 2020. The files were thereafter reviewed by the

                      Trump Organization’s General Counsel and all non-privileged documents

                      that were located were produced to the OAG. No custodial documents for

                      Respondent were identified as a result of this search.

                   ii. On November 23, 2021, Cynthia Arce reviewed and assessed the off-site

                      storage log and verified that the off-site stored files did not include any

                      custodial documents for Respondent.

                  iii. From late April through May 6, 2022 and continuing, HaystackID searched

                      physical files and documents contained in off-site storage. Based on my

                      review of HaystackID’s report regarding this search, I understand that no

                      custodial documents for Respondent have been identified to date.

            f. Chron Files



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                  i. On July 19, 2021, Owen Reidy searched all of the hard copy calendars

                     maintained by Respondent. These hard copy calendars are located the

                     Trump Organization’s corporate offices in Trump Tower. As a result of Mr.

                     Reidy’s collective search efforts on that date, the following custodial

                     documents for Respondent were identified and subsequently produced to

                     the    OAG:     TTO_214579,      TTO_214580,       TTO_214581       through

                     TTO_214583.

                  ii. In or around early 2022, Prior Counsel searched Respondent’s chron file for

                     any and all responsive documents to the NYDA’s subpoena requests. In

                     response to those searches, on February 9, 2022, Prior Counsel produced to

                     the NYDA, the following documents custodial documents for Respondent:

                     TTO_05439138,          TTO_05439139          through       TTO_05439275,

                     TTO_05439276       through    TTO_05439412,      TTO_05439413       through

                     TTO_05439654,          TTO_05439655,          TTO_05439656          through

                     TTO_05439675, and         TTO_05439676. The Trump Organization’s

                     production to the NYDA was re-produced to the OAG in its entirety.

                 iii. Commencing in January 2022, my office performed a full, complete, and

                     diligent search of the chron files. After the search, it was determined that

                     any documents in the chron files that are responsive to the Subpoena had

                     already been produced to the OAG.

                 iv. From late April through May 6, 2022, HaystackID searched Respondent’s

                     chron files. Based on my review of HaystackID’s report regarding this

                     search, I understand that no custodial documents for Respondent were



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                      identified.

            g. Trump National Golf Club Bedminster

                   i. On May 5, 2022, I personally searched each and every room of

                      Respondent’s private residence located at Trump National Golf Club

                      Bedminster, including all desks, drawers, file cabinets, etc. No documents

                      responsive to the Subpoena were identified other than those that had already

                      been produced by the Trump Organization.

                  ii. On May 5, 2022, I personally searched Respondent’s personal office located

                      at Trump National Golf Club Bedminster, including all desks, drawers, file

                      cabinets, etc. No documents responsive to the Subpoena were located or

                      identified.

            h. Mar-a-Lago

                   i. On May 5, 2022, I personally searched each and every room of

                      Respondent’s private residence located at Mar-a-Lago, including all desks,

                      drawers, file cabinets, and similar locations likely to house files or

                      documents. No documents responsive to the Subpoena were located or

                      identified.

                  ii. On May 5, 2022, I personally searched Respondent’s personal office located

                      at Mar-a-Lago, including all desks, drawers, file cabinets, etc. No

                      documents responsive to the Subpoena were located or identified.

            i. Trump Tower Apartment

                   i. On May 5, 2022, Alan Garten searched each and every room of

                      Respondent’s private apartment located at Trump Tower, including all



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                          desks, drawers, file cabinets, etc. No documents responsive to the Subpoena

                          were located or identified.

                                             Demand No. 1

          25.     With respect to Demand No. 1, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 1 and/or cross-checking whether any documents responsive to Demand No. 1 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          26.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 1 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          27.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          28.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 1.



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          29.    In addition, Demand No. 1 of the Subpoena calls for “all documents and

   communications concerning any Statement of Financial Condition.” I cross-checked the search

   terms used by the Trump Organization in connection with its searches in response to the OAG’s

   2019 Subpoena, which included, without limitation, the following search terms:

          Statement of Financial Condition
          Personal financial statement
          PFS
          DJTFS
          DJT FS
          Personal financial
          SOFC
          DJT SOFC
          DJT W/5 SOFC
          f/s
          Financial statement;
          Compilation
          balance sheet
          Blakely
          Cushman
          Mazars
          Weiser
          Trump National AND (LA or Los Angeles)
          TNGCLA or TNGC LA
          Palos
          Verdes
          *@cushmanwakefield.com
          *@cushwake.com
          Tower w/5 worth, valu*
          TWT w/5 worth, valu*
          Trump Park" w/5 valu*
          555 Cal*" w/5 valu*
          Nike w/5 valu*
          502 Park" w/5 valu* S
          cotland w/5 worth, valu*
          40 Wall" w/5 valu*
          Mar-a-lago" w/5 worth, valu*
          Trump Parc" w/5 valu*
          845* w/5 worth, valu*
          Aberdeen w/5 worth, valu*
          Bedminster w/5 worth, valu*
          Charlotte w/5 worth, valu*
          Colts Neck w/5 worth, valu*

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          Doral w/5 worth, valu*
          Washington DC w/5 worth, valu*
          Ferry Point w/5 worth, valu*
          Las Vegas w/5 worth, valu*
          Turnberry w/5 worth, valu*
          Doonbeg w/5 worth, valu*
          Hawaii w/5 worth, valu*
          TIHT w/5 worth, valu*
          OPO w/5 worth, valu*
          Pine Hill w/5 worth, valu*
          Philadelphia w/5 worth, valu*
          Winery w/5 worth, valu*

   Based on the use of these search terms, the documents responsive to Demand No. 1 of the

   Subpoena would have been produced to the OAG in connection with the Trump Organization’s

   prior searches.

          30.        Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   1, other than those documents that had already been produced by the Trump Organization.

                                             Demand No. 2

          31.        Demand No. 2 calls for “[a]ll documents and communications concerning any

   valuation of any asset whose value is identified or incorporated into any Statement of Financial

   Condition.” This identical demand was set forth in a subpoena dated December 27, 2019 that was

   previously served upon the Trump Organization by the OAG; therefore, the Trump Organiation’s

   prior searches wholly encompassed the items responsive to this demand.

          32.        With respect to Demand No. 2, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 2 and/or cross-checking whether any documents responsive to Demand No. 2 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

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   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          33.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 2 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          34.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          35.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 2.

          36.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   2, other than those documents that had already been produced by the Trump Organization.

                                             Demand No. 3

          37.     Demand No. 3 calls for “[a]ll documents reviewed, used, or relied on in the

   preparation of the Statements of Financial Condition, and all communications relating to any of

   the foregoing.” This identical demand was set forth in a subpoena dated December 27, 2019 that

   was previously served upon the Trump Organization by the OAG; therefore, the Prior Searches



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   encompassed the items responsive to this demand.

          38.     With respect to Demand No. 3, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 3 and/or cross-checking whether any documents responsive to Demand No. 3 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          39.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 3 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          40.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          41.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 3.

          42.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.



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   3, other than those documents that had already been produced by the Trump Organization.

                                             Demand No. 4

          43.     Demand No. 4 calls for “[a]ll documents and communications concerning any

   financing or debt related to Trump International Hotel and Tower Chicago or Chicago Unit

   Acquisition LLC.” This identical demand was set forth in a subpoena dated December 27, 2019

   that was previously served upon the Trump Organization by the OAG; therefore, the Prior Searches

   encompassed the items responsive to this demand.

          44.     With respect to Demand No. 4, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 4 and/or cross-checking whether any documents responsive to Demand No. 4 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          45.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 4 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          46.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private



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   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          47.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 4.

          48.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   4, other than those documents that had already been produced by the Trump Organization.

                                             Demand No. 5

          49.     Demand No. 5 calls for “[a]ll documents and communications concerning the

   donation or potential donation of a conservation or preservation easement by [Respondent].” This

   identical demand was set forth in a subpoena dated December 27, 2019 that was previously served

   upon the Trump Organization by the OAG; therefore, the Prior Searches encompassed the items

   responsive to this demand.

          50.     With respect to Demand No. 5, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 5 and/or cross-checking whether any documents responsive to Demand No. 5 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          51.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the



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   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 5 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          52.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          53.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 5.

          54.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   5, other than those documents that had already been produced by the Trump Organization.

                                            Demand No. 6

          55.     Demand No. 6 calls for “[a]ll documents and communications concerning any

   planned or potential development or alteration of the Seven Springs Estate.” This identical demand

   was set forth in a subpoena dated December 27, 2019 that was previously served upon the Trump

   Organization by the OAG; therefore, the Prior Searches encompassed the items responsive to this

   demand.

          56.     With respect to Demand No. 6, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 5 and/or cross-checking whether any documents responsive to Demand No. 6 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)



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   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          57.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 6 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          58.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          59.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 6.

          60.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   6, other than those documents that had already been produced by the Trump Organization.

                                             Demand No. 7

          61.     With respect to Demand No. 7, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 7 and/or cross-checking whether any documents responsive to Demand No. 7 had been



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   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG.

          62.     I had numerous discussions with TTO Co-Counsel, the TTO Legal Dept., and the

   TTO IT Dept., for the purpose of reviewing the documents produced in connection with the Prior

   Searches, identifying documents potentially responsive to Demand No. 7 and verifying whether

   potentially responsive documents had previously been produced to the OAG.

          63.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          64.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control responsive to Demand No. 7.

          65.     Further, with respect to Demand No. 7 of the Subpoena, which calls for “all

   documents and communications with Forbes Magazine…,” my office confirmed that all

   communications and documents with Forbes Magazine had been produced to the OAG through

   August 14, 2021.

          66.     In particular, through conversations with Prior Counsel, TTO Legal Dept., and TTO

   IT Dept., my office confirmed that the Trump Organization had performed searches for all



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   communications and documents with Forbes Magazine in response to the NYDA subpoena, which

   covered through the period of August 14, 2021. The custodial documents for Respondent produced

   to the NYDA on February 2, 2022 were the following: TTO_05324574 through TTO_05347249.

   These documents were subsequently reproduced to the OAG by the Trump Organization.

          67.    To supplement this search, on March 16, 2022, Mr. Madaio coordinated with the

   Trump Organization’s IT team to commence a search for any responsive documents to Demand

   No. 7 (regarding Forbes Magazine) for the time period from January 1, 2021 through March 16,

   2022. Search parameters included the term “forbes” and communications with “forbes.com” e-

   mail addresses, and the e-mail addresses of ten Trump Organization individuals were searched,

   including Alan Garten, Eric Trump, Donald Trump, Jr., Allen Weisselberg, Amanda Miller, Kim

   Benza, Jeffrey McCooney, Patrick Birney, Ray Flores and Deborah Tarasoff.

          68.    The search returned 1,386 documents and/or communications. Three employees of

   my firm, in coordination with HaystackID, reviewed these items as to whether they were

   responsive to Demand No. 7. After a full, complete and diligent search, it was determined that

   none of the documents were responsive.

          69.    Additionally, I searched the chron files and did not find any documents responsive

   to the Subpoena which had not already been produced by the Trump Organization to the NYDA

   and, subsequently, to the OAG.

          70.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   7, other than those documents that had already been produced by the Trump Organization.

                                            Demand No. 8

          71.    With respect to Demand No. 8, I personally reviewed and analyzed the following



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   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 7 and/or cross-checking whether any documents responsive to Demand No. 7 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; and (v) weekly status reports

   provided by TTO Co-Counsel to the OAG

          72.     I searched for responsive documents at the following locations: (i) Respondent’s

   private residence located at Trump National Golf Club Bedminster; (ii) Respondent’s personal

   office located at Trump National Golf Club Bedminster Mar-a-Lago; (iii) Respondent’s private

   residence located at Mar-a-Lago; and (iv) Respondent’s personal office located at Trump National

   Golf Club Bedminster.

          73.     I personally interviewed Respondent as to whether he had any responsive

   documents in his possession, custody or control with respect to Demand No. 8.

          74.     Based on my discussions with Respondent and communications with the Trump

   Legal Dept., I confirmed that insurance procurement, both personal and business-related, were

   coordinated through the Trump Organization and handled by individuals other than Respondent or

   his executive assistants.

          75.     Demand No. 8 of the Subpoena calls for “[a]ll documents relating to your financial

   condition or that of the Trump Organization reviewed, used, shared, or relied on in obtaining or

   renewing insurance coverage for you and/or the Trump Organization, including without limitation

   all Statements of Financial Condition disclosed to insurance underwriters or insurance brokers,



                                                   25

                                                                                           Ex. 1_026
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   and all communications relating to any of the foregoing.” I cross-checked the search terms used

   by the Trump Organization in connection with its searches in response to the prior OAG

   subpoenas, which included, without limitation, the following search terms:

          Statement of Financial Condition
          Personal financial statement
          PFS
          DJTFS
          DJT FS
          Personal financial
          SOFC
          DJT SOFC
          DJT W/5 SOFC
          f/s
          Financial statement
          Compilation
          balance sheet
          Trump National AND (LA or Los Angeles)
          TNGCLA or TNGC LA
          Palos
          Verdes
          Tower w/5 worth, valu*
          TWT w/5 worth, valu*
          Trump Park" w/5 valu*
          555 Cal*" w/5 valu*
          Nike w/5 valu*
          502 Park" w/5 valu* S
          cotland w/5 worth, valu*
          40 Wall" w/5 valu*
          Mar-a-lago" w/5 worth, valu*
          Trump Parc" w/5 valu*
          845* w/5 worth, valu*
          Aberdeen w/5 worth, valu*
          Bedminster w/5 worth, valu*
          Charlotte w/5 worth, valu*
          Colts Neck w/5 worth, valu*
          Doral w/5 worth, valu*
          Washington DC w/5 worth, valu*
          Ferry Point w/5 worth, valu*
          Las Vegas w/5 worth, valu*
          Turnberry w/5 worth, valu*
          Doonbeg w/5 worth, valu*
          Hawaii w/5 worth, valu*
          TIHT w/5 worth, valu*

                                                  26

                                                                                      Ex. 1_027
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          OPO w/5 worth, valu*
          Pine Hill w/5 worth, valu*
          Philadelphia w/5 worth, valu*
          Winery w/5 worth, valu*

   In addition, specific searches were previously performed by the Trump Organization with respect
   to the following items:

      •   Budgets, income statements, financial statements, balance sheets, and similar documents
          reflecting the financial performance of, or financial projections for, TTO golf or other club
          properties whose value is incorporated into SOFC produced by TTO to the DANY.
      •   Documents reflecting financial performance of, or financial projections for, Trump
          Organization club properties.
      •   All documents and communications relating to the negotiation, closing, or modification of
          any loan secured by any property identified on the SoFC

   Based on the use of these search terms and parameters, the documents responsive to Demand No.

   8 of the Subpoena would have been produced to the OAG in connection with the Trump

   Organization’s prior searches.

          76.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in possession of any documents responsive to Demand No.

   8, other than those documents that had already been produced by the Trump Organization.

                                              Stipulation

          77.    On behalf of Respondent, I hereby stipulate that the Trump Organization-produced

   documents can be used as if those documents were produced by Respondent because they were

   under Respondent’s “control,” in that they were documents in the possession of a company owned

   or controlled by a Respondent or a Trust owned by him, to the extent allowable by law. In so

   stipulating, Respondent does not waive any objections to such documents or the introduction of

   those documents in evidence that he would otherwise have if he had produced those documents

   solely because they were in the custody or control of a company owned or controlled by him or a

   Trust owned by him.

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                                                                                           Ex. 1_028
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                                                                    Ex. 1_029
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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NEW YORK

    PEOPLE OF THE STATE OF NEW YORK, by                Index No.: No.: 451685/2020
    LETITIA JAMES, Attorney General of the State
    of New York,

                          Petitioner,

                  v.                                       AFFIDAVIT OF COMPLIANCE
                                                                WITH SUBPOENA
    THE TRUMP ORGANIZATION, INC., DJT
    HOLDINGS LLC, DJT HOLDINGS
    MANAGING MEMBER LLC, SEVEN
    SPRINGS LLC, ERIC TRUMP, CHARLES
    MARTABANO, MORGAN, LEWIS &
    BOCKIUS, LLP, SHERI DILLON, DONALD J.
    TRUMP, IVANKA TRUMP, DONALD
    TRUMP, JR., and CUSHMAN AND
    WAKEFIELD, INC.,

                          Respondents.


          I, Michael T. Madaio, Esq., being duly sworn, state as follows:

          1.     My office represents the respondent, Donald J. Trump (“Respondent”), in

   connection with the above referenced action and is responsible for preparing and assembling

   Respondent’s production and response to the Subpoena Duces Tecum dated December 1, 2021

   (the “Subpoena”). My office also represents the respondent, The Trump Organization, Inc. (the

   “Trump Organization”) in this action.

          2.     I submit this affirmation in further compliance with Instruction C14 of the

   Subpoena and in accordance with the Court’s Order dated April 29, 2022.

          3.     Respondent previously submitted a Response and Objections to the Subpoena dated

   March 31, 2022 (the “Response”). Consistent with the Court’s Order dated April 26, 2022,

   Respondent hereby withdraws all objections raised in the Response.



                                                  1

                                                                                     Ex. 1_030
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          4.      Respondent’s productions and responses to the Subpoena are complete and correct

   to the best of my knowledge and belief.

          5.      No documents or information responsive to the Subpoena have been withheld from

   Respondent’s production and response.

          6.      Attached as Schedule A is a true and accurate record of all persons who prepared

   and assembled any productions and responses to the Subpoena, all persons under whose personal

   supervision the preparation and assembly of productions and responses to the Subpoena occurred,

   and all persons able competently to testify: (a) that such productions and responses are complete

   and correct to the best of such person’s knowledge and belief; and (b) that any Documents

   produced are authentic, genuine and what they purport to be.

          7.      As described herein, I made or caused to be made a diligent, complete and

   comprehensive search for all documents and information requested by the Subpoena, in full

   accordance with the instructions and definitions set forth in the Subpoena.

                                     Overview of Search Efforts

          8.      Commencing in January 2022, my office undertook significant, diligent, and

   comprehensive search efforts in response to the Subpoena.

          9.      Our search efforts consisted of a two-pronged approach to ensure that all responsive

   documents have been produced to the OAG: first, in coordination with co-counsel for the Trump

   Organization, LaRocca Hornik Rosen & Greenberg LLP (“TTO Co-Counsel”), the Trump

   Organization legal team including its General Counsel, Alan Garten, Esq. (the “TTO Legal

   Dept.”), and the Trump Organization IT Department (the “TTO IT Dept.”) my office performed a

   thorough review of the prior document productions and search efforts undertaken by the Trump

   Organization in response to prior subpoenas served the OAG, for the purpose of cross-checking



                                                   2

                                                                                          Ex. 1_031
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   for responsive documents that had already been produced by the Trump Organization; second, my

   office, in coordination with prior counsel for Respondent, Van der Veen, O'Neill, Hartshorn, and

   Levin (“Prior Counsel”) and co-counsel for Respondent, Fischetti & Malgieri LLP (“Co-

   Counsel”), conducted full, complete and comprehensive searches for any and all responsive

   documents that had not previously been produced by the Trump Organization to the OAG.

             10.   The steps taken by my office in furtherance of these search efforts are outlined

   herein.

             11.   From January 2022 through March 2022, I had numerous phone calls and

   communications with Prior Counsel concerning their search efforts that had been undertaken in

   connection with the Subpoena.

             12.   Prior Counsel confirmed that their office had interviewed all of Respondent’s

   executive assistants as to whether they had any documents or communications responsive to the

   Subpoena and that no such responsive documents were identified.

             13.   Prior Counsel further informed that their office conducted a search of Respondent’s

   correspondence files (the “chron files”) and produced relevant portions thereof to the NYDA. The

   Trump Organization then caused all of those same documents to be produced to the OAG on

   February 9, 2022. The production to the NYDA included the following custodial documents for

   Respondent: TTO_05439138, TTO_05439139 through TTO_05439275, TTO_05439276 through

   TTO_05439412, TTO_05439413 through TTO_05439654, TTO_05439655, TTO_05439656

   through TTO_05439675, and TTO_05439676. TTO Counsel further advised that the Trump

   Organization’s production to the NYDA was re-produced to the OAG in its entirety. 1.




   1
     The chron files produced to the OAG is comprised of 542 pages of documents and can be found
   at TTO_05439134 through TTO_05439676.
                                                    3

                                                                                          Ex. 1_032
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          14.     I also had numerous phone calls and communications with co-counsel for

   Respondent, Fischetti & Malgieri LLP (“Co-Counsel”), concerning their office’s search efforts

   undertaken in connection with the Subpoena.

          15.     Co-Counsel confirmed that he personally reviewed the Subpoena with Respondent

   over the telephone as to whether he was in possession, custody or control of any responsive

   documents to the Subpoena.

          16.     Further, I had numerous phone calls and communications with TTO Co-Counsel,

   the TTO Legal Dept., and the TTO IT Dept. for the purpose of assessing and verifying the extent

   of the searches performed in relation to the Trump Organization’s prior document productions.

          17.     I personally reviewed attorney work product provided by TTO Co-Counsel which

   summarized, organized and identified with particularity the documents produced by the Trump

   Organization to the OAG, which I personally cross-checked for responsive documents as to each

   individual demand of the Subpoena. I also reviewed each individual demand contained in the

   Subpoena with TTO Co-Counsel as to whether any responsive documents pertaining to

   Respondent had been previously produced by the Trump Organization to the OAG.

          18.     From January 2022 through March 2022, I personally reviewed portions of

   Respondent’s chron files as to whether they contained any documents responsive to the Subpoena.

   Collectively, my firm performed a full, complete, and diligent search of the chron files. After the

   search, it was determined that any documents in the chron files that are responsive to the Subpoena

   had already been produced to the OAG.

          19.     I personally reviewed the weekly status reports provided by TTO Co-Counsel to

   the OAG.

          20.     I personally reviewed the prior subpoenas served upon the Trump Organization by



                                                   4

                                                                                          Ex. 1_033
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   the OAG.

          21.      I personally reviewed relevant portions of the Trump Organization’s prior

   document productions to the OAG.

          22.      My office had numerous conversations with Respondent by telephone concerning

   the Subpoena, his electronic devices, the locations likely to house responsive documents, and

   whether he had any responsive documents in his possession, custody, or control.

          23.      On March 17, 2022, Alina Habba met with Respondent in-person at Mar-a-Lago

   and reviewed the Subpoena with him, including each individual demand contained therein.

          24.      On April 8, 2022, Alina Habba and I conducted a telephone interview with

   Respondent, as per Haystack ID’s request. After completion, the completed HaystackID interview

   forms were submitted to HaystackID.

          25.      In addition, in accordance with the Order of the Hon. Arthur Engoron, J.S.C. dated

   April 29, 2022, my office performed several additional searches to further ensure that there are no

   documents responsive to the Subpoena that have not been previously produced by the Trump

   Organization:

                a. On May 2, 2022, Alina Habba interviewed Eric Brunnett, the Vice President of

                   Information Technology of the Trump Organization, to review and verify the

                   specific phones, computers and other devices that have been issued to Respondent

                   by the Trump Organization. A separate affidavit of Mr. Brunnett is attached hereto.

                   Based on Alina Habba’s conversation with Mr. Brunnett, A separate affidavit of

                   Mr. Brunnett is attached hereto. Based on my conversation with Mr. Brunnett, I

                   understand that Respondent does not have any Trump Organization-issued phones,

                   computers, or devices in his personal possession. Respondent only has two phones



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                                                                                          Ex. 1_034
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                   in his personal possession: (i) an iPhone; and (ii) a new phone he was recently given

                   by TruthSocial which is used exclusively for posting on that site. Respondent’s

                   iPhone been searched and imaged twice by Chris Herndon of TechCentrics, Inc.,

                   once in March 21, 2022 and again on May 4, 2022. A separate affidavit of Mr.

                   Herndon is attached hereto.

                b. On May 4, 2022, Alina Habba diligently searched each and every room of

                   Respondent’s private residence located at Trump National Golf Club Bedminster,

                   including all desks, drawers, nightstands, dressers, closets, etc.

                c. On May 4, 2022, Alina Habba diligently searched Respondent’s personal office

                   located at Trump National Golf Club Bedminster, including all desks, drawers, file

                   cabinets, etc.

                d. On May 5, 2022, Alina Habba diligently searched each and every room of

                   Respondent’s private residence located at Mar-a-Lago, including all desks,

                   drawers, nightstands, dressers, closets, etc.

                e. On May 5, 2022, Alina Habba diligently searched Respondent’s personal office

                   located at Mar-a-Lago, including all desks, drawers, file cabinets, etc.

                f. On May 5, 2022, Alina Habba coordinated and communicated with Alan Garten

                   via telephone with regard to his search of Respondent’s private residence in Trump

                   Tower including all desks, drawers, file cabinets, and similar locations likely to

                   house files or documents.

          26.      Further, it was agreed by all parties at the April 26, 2022 hearing that Haystack

   would perform an additional follow-up search for responsive documents stored in: (i) the file

   cabinets located outside Respondent’s office the Trump Organization’s corporate offices in Trump



                                                     6

                                                                                              Ex. 1_035
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   Tower; (ii) file cabinets located outside Respondent’s office the Trump Organization’s corporate

   offices in Trump Tower; (iii) the file cabinets located on the 25th and 26th floors of the Trump

   Organization’s corporate offices in Trump Tower; (iv) Respondent’s hard copy calendar files

   located in the Trump Organization’s corporate offices in Trump Tower; and (iv) off-site storage.

          27.      Based upon the foregoing, it is my understanding that, between the collective

   efforts of my office, Co-Counsel, Prior Counsel, and TTO Counsel, as well as the independent

   searches of HaystackID, the following searches have been performed of the Respondent’s physical

   documents and files at these relevant locations:

                a. Cabinets Outside of Respondent’s Office (Trump Tower)

                       i. On July 19, 2021, Owen Reidy, an attorney with the TTO Legal Dept.,

                          searched the physical documents and files located in the file cabinets located

                          outside Respondent’s office the Trump Organization’s corporate offices in

                          Trump Tower. These file cabinets have, at all relevant times, been

                          maintained by Respondent’s executive assistants, including Jessica

                          Macchia, Chelsea Frommer, Holly Lorenzo, Kelly Malley, Katie Murphy,

                          Kelli Rose, Thuy Colayco, Cammie Artusa, and Meredith McIver. As a

                          result of Mr. Reidy’s collective search efforts on that date, the following

                          custodial documents for Respondent were identified and subsequently

                          produced to the OAG: TTO_214579, TTO_214580, TTO_214581 through

                          TTO_214583.

                      ii. On November 12, 2021, Cynthia Arce, a paralegal with the TTO Legal

                          Dept., searched the physical documents and files located in the file cabinets

                          located outside Respondent’s office the Trump Organization’s corporate



                                                      7

                                                                                            Ex. 1_036
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                      offices in Trump Tower. These file cabinets have, at all relevant times, been

                      maintained by Respondent’s executive assistants, including Jessica

                      Macchia, Chelsea Frommer, Holly Lorenzo, Kelly Malley, Katie Murphy,

                      Kelli Rose, Thuy Colayco, Cammie Artusa, and Meredith McIver. No

                      custodial documents for Respondent were identified as a result of this

                      search.

                  iii. From late April through May 6, 2022, HaystackID searched the file cabinets

                      located outside Respondent’s office the Trump Organization’s corporate

                      offices in Trump Tower. Based on my review of HaystackID’s report

                      regarding this search, I understand that no documents responsive to the

                      Subpoena were identified.

            b. Executive Office Storage Closet / Storage Room by Respondent’s Office (Trump
               Tower)

                   i. On July 19, 2021, Owen Reidy searched the physical documents and files

                      located in the file cabinets in the Executive Office storage closet and the

                      storage room by Respondent’s office in the Trump Organization’s corporate

                      offices in Trump Tower for all of Respondent’s executive assistants. As a

                      result of Mr. Reidy’s collective search efforts on that date, the following

                      custodial documents for Respondent were identified and subsequently

                      produced to the OAG: TTO_214579, TTO_214580, TTO_214581 through

                      TTO_214583.

                  ii. On November 12, 2021, Cynthia Arce searched the physical documents and

                      files located in the file cabinets in the Executive Office storage closet and

                      the storage room by Respondent’s office in the Trump Organization’s

                                                8

                                                                                       Ex. 1_037
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                       corporate offices in Trump Tower, including the file cabinets maintained by

                       Respondent’s executive assistants, Jessica Macchia, Chelsea Frommer,

                       Holly Lorenzo, Kelly Malley, Katie Murphy, Kelli Rose, Thuy Colayco,

                       Cammie Artusa, and Meredith McIver. No custodial documents for

                       Respondent were identified as a result of this search.

                  iii. On November 23, 2021, Cynthia Arce searched the physical documents and

                       files located in the file cabinets in the Executive Office storage closet and

                       the storage room by Respondent’s office in the Trump Organization’s

                       corporate offices in Trump Tower, including the file cabinets maintained by

                       Respondent’s executive assistants, Randi Gleason, Laurden Kelly, Casey

                       Kennedy, and Jaquiline Fini. No custodial documents for Respondent were

                       identified as a result of this search.

                  iv. From late April through May 6, 2022, HaystackID searched the physical

                       documents and files located in the file cabinets in the Executive Office

                       storage closet and the storage room by Respondent’s office in the Trump

                       Organization’s corporate offices in Trump Tower for all of Respondent’s

                       executive assistants. Based on my review of HaystackID’s report regarding

                       this search, I understand that no custodial documents for Respondent were

                       identified.

            c. File Cabinets located on the 25th and 26th Floors

                    i. On or about January 24, 2020, Maria Enriquez, an attorney with the TTO

                       Legal Dept., searched the physical documents and files located in the file

                       cabinets located on the 25th and 26th floors of the Trump Organization’s



                                                   9

                                                                                        Ex. 1_038
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                      corporate offices in Trump Tower. Any documents responsive to those

                      searches were produced to the OAG by the Trump Organization. No

                      custodial documents for Respondent were identified as a result of this

                      search.

                   ii. From late April through May 6, 2022, HaystackID searched the physical

                      documents and files located in the file cabinets located on the 25th and 26th

                      floors of the Trump Organization’s corporate offices in Trump Tower.

                      Based on my review of HaystackID’s report regarding this search, I

                      understand that no custodial documents for Respondent were identified.

            d. Hard Copy Calendars

                   i. On July 19, 2021, Owen Reidy searched all of the hard copy calendars

                      maintained by Respondent. These hard copy calendars are located the

                      Trump Organization’s corporate offices in Trump Tower. As a result of Mr.

                      Reidy’s collective search efforts on that date, the following custodial

                      documents for Respondent were identified and subsequently produced to

                      the   OAG:     TTO_214579,       TTO_214580,       TTO_214581        through

                      TTO_214583.

                   ii. From late April through May 6, 2022, HaystackID searched the hard copy

                      calendars maintained by Respondent in the Trump Organization’s corporate

                      offices in Trump Tower. Based on my review of HaystackID’s report

                      regarding this search, I understand that no custodial documents for

                      Respondent were identified.

            e. Off-site Storage



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                                                                                       Ex. 1_039
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                   i. In mid-January, 2020, Adam Rosen, Alex Cannon, and Maria Enriquez, all

                      attorneys with the Trump Legal Dept., conducted searches of inventories

                      the off-site storage files for any documents responsive to the OAG’s

                      December 2019 subpoena. The files that were identified as potentially

                      responsive were shipped from the off-site storage facility to the Trump

                      Organization’s corporate offices at Trump Tower, where they were received

                      on or about January 15, 2020. The files were thereafter reviewed by the

                      Trump Organization’s General Counsel and all non-privileged documents

                      that were located were produced to the OAG. No custodial documents for

                      Respondent were identified as a result of this search.

                  ii. On November 23, 2021, Cynthia Arce reviewed and assessed the off-site

                      storage log and verified that the off-site stored files did not include any

                      custodial documents for Respondent.

                  iii. From late April through the present and continuing, HaystackID searched

                      physical files and documents contained in off-site storage. Based on my

                      review of HaystackID’s report regarding this search, I understand that no

                      custodial documents for Respondent were identified.

            f. Chron Files

                   i. On July 19, 2021, Owen Reidy searched all of the hard copy calendars

                      maintained by Respondent. These hard copy calendars are located the

                      Trump Organization’s corporate offices in Trump Tower. As a result of Mr.

                      Reidy’s collective search efforts on that date, the following custodial

                      documents for Respondent were identified and subsequently produced to



                                               11

                                                                                     Ex. 1_040
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                      the   OAG:     TTO_214579,       TTO_214580,       TTO_214581       through

                      TTO_214583.

                  ii. In or around early 2022, Prior Counsel searched Respondent’s chron file for

                      any and all responsive documents to the NYDA’s subpoena requests. In

                      response to those searches, on February 9, 2022, Prior Counsel produced to

                      the NYDA, the following custodial documents for Respondent:

                      TTO_05439138,         TTO_05439139           through       TTO_05439275,

                      TTO_05439276      through     TTO_05439412,      TTO_05439413       through

                      TTO_05439654,         TTO_05439655,          TTO_05439656           through

                      TTO_05439675, and        TTO_05439676. The Trump Organization’s

                      production to the NYDA was re-produced to the OAG in its entirety.

                 iii. Commencing in January 2022, my office performed a full, complete, and

                      diligent search of the chron files. After the search, it was determined that

                      any documents in the chron files that are responsive to the Subpoena had

                      already been produced to the OAG.

                  iv. From late April through May 6, 2022, HaystackID searched Respondent’s

                      chron files. Based on my review of HaystackID’s report regarding this

                      search, I understand that no custodial documents for Respondent were

                      identified.

            g. Trump National Golf Club Bedminster

                   i. On May 5, 2022, Alina Habba searched each and every room of

                      Respondent’s private residence located at Trump National Golf Club

                      Bedminster, including all desks, drawers, file cabinets, etc. No documents



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                                                                                      Ex. 1_041
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                          responsive to the Subpoena were located or identified.

                      ii. On May 5, 2022, Alina Habba searched Respondent’s personal office

                          located at Trump National Golf Club Bedminster, including all desks,

                          drawers, file cabinets, etc. No documents responsive to the Subpoena were

                          located or identified.

                h. Mar-a-Lago

                       i. On May 5, 2022, Alina Habba searched each and every room of

                          Respondent’s private residence located at Mar-a-Lago, including all desks,

                          drawers, file cabinets, etc. No documents responsive to the Subpoena were

                          located or identified.

                      ii. On May 5, 2022, Alina Habba searched Respondent’s personal office

                          located at Mar-a-Lago, including all desks, drawers, file cabinets, etc. No

                          documents responsive to the Subpoena were located or identified.

                i. Trump Tower Apartment

                       i. On May 5, 2022, Alan Garten searched each and every room of

                          Respondent’s private apartment located at Trump Tower, including all

                          desks, drawers, file cabinets, etc. No documents responsive to the Subpoena

                          were identified.

                                             Demand No. 1

          28.      With respect to Demand No. 1, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 1 and/or cross-checking whether any documents responsive to Demand No. 1 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)



                                                   13

                                                                                         Ex. 1_042
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   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Trump Organization’s prior searches; (iv) prior

   subpoenas served upon the Trump Organization by the OAG; (v) relevant portions of the Trump

   Organization’s prior document productions to the OAG; and (vi) weekly status reports provided

   by TTO Co-Counsel to the OAG.

          29.     I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-Counsel, and

   the TTO Legal Dept. for the purpose of reviewing the documents produced in connection with the

   Trump Organization’s prior searches and productions, identifying documents potentially

   responsive to Demand No. 1 and verifying whether potentially responsive documents had

   previously been produced to the OAG.

          30.     In addition, Demand No. 1 of the Subpoena calls for “all documents and

   communications concerning any Statement of Financial Condition.” I cross-checked the search

   terms used by the Trump Organization in connection with its searches in response to the OAG’s

   2019 Subpoena, which included, without limitation, the following search terms:

          Statement of Financial Condition
          Personal financial statement
          PFS
          DJTFS
          DJT FS
          Personal financial
          SOFC
          DJT SOFC
          DJT W/5 SOFC
          f/s
          Financial statement;
          Compilation
          balance sheet
          Blakely
          Cushman
          Mazars

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          Weiser
          Trump National AND (LA or Los Angeles)
          TNGCLA or TNGC LA
          Palos
          Verdes
          *@cushmanwakefield.com
          *@cushwake.com
          Tower w/5 worth, valu*
          TWT w/5 worth, valu*
          Trump Park" w/5 valu*
          555 Cal*" w/5 valu*
          Nike w/5 valu*
          502 Park" w/5 valu* S
          cotland w/5 worth, valu*
          40 Wall" w/5 valu*
          Mar-a-lago" w/5 worth, valu*
          Trump Parc" w/5 valu*
          845* w/5 worth, valu*
          Aberdeen w/5 worth, valu*
          Bedminster w/5 worth, valu*
          Charlotte w/5 worth, valu*
          Colts Neck w/5 worth, valu*
          Doral w/5 worth, valu*
          Washington DC w/5 worth, valu*
          Ferry Point w/5 worth, valu*
          Las Vegas w/5 worth, valu*
          Turnberry w/5 worth, valu*
          Doonbeg w/5 worth, valu*
          Hawaii w/5 worth, valu*
          TIHT w/5 worth, valu*
          OPO w/5 worth, valu*
          Pine Hill w/5 worth, valu*
          Philadelphia w/5 worth, valu*
          Winery w/5 worth, valu*

   Based on the use of these search terms, the documents responsive to Demand No. 1 of the

   Subpoena would have been produced to the OAG in connection with the Trump Organization’s

   prior searches.

          31.        Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 1, other than those documents that had already been produced by the Trump Organization.

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                                           Demand No. 2

          32.    Demand No. 2 calls for “[a]ll documents and communications concerning any

   valuation of any asset whose value is identified or incorporated into any Statement of Financial

   Condition.” This identical demand was set forth in a subpoena dated December 27, 2019 that was

   previously served upon the Trump Organization by the OAG; therefore, the Trump Organization’s

   prior searches and productions encompassed the items responsive to this demand.

          33.    With respect to Demand No. 2, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 2 and/or cross-checking whether any documents responsive to Demand No. 2 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          34.    In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-

   Counsel, and the TTO Legal Dept. for the purpose of reviewing the documents produced in

   connection with the Prior Searches, identifying documents potentially responsive to Demand No.

   2 and verifying that all potentially responsive documents had previously been produced to the

   OAG.

          35.    Based on the foregoing, together with my firm’s collective search efforts, I



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   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 2, other than those documents that had already been produced by the Trump Organization.

                                           Demand No. 3

          36.    Demand No. 3 calls for “[a]ll documents reviewed, used, or relied on in the

   preparation of the Statements of Financial Condition, and all communications relating to any of

   the foregoing.” This identical demand was set forth in a subpoena dated December 27, 2019 that

   was previously served upon the Trump Organization by the OAG; therefore, the Trump

   Organization’s prior searches and productions encompassed the items responsive to this demand.

          37.    With respect to Demand No. 3, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 3 and/or cross-checking whether any documents responsive to Demand No. 3 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          38.    In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-

   Counsel, and the TTO Legal Dept. for the purpose of reviewing the documents produced in

   connection with the Prior Searches, identifying documents potentially responsive to Demand No.

   3 and verifying that all potentially responsive documents had previously been produced to the

   OAG.



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          39.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 3, other than those documents that had already been produced by the Trump Organization.

                                           Demand No. 4

          40.    Demand No. 4 calls for “[a]ll documents and communications concerning any

   financing or debt related to Trump International Hotel and Tower Chicago or Chicago Unit

   Acquisition LLC.” This identical demand was set forth in a subpoena dated December 27, 2019

   that was previously served upon the Trump Organization by the OAG; therefore, the Trump

   Organization’s prior searches and productions encompassed the items responsive to this demand.

          41.    With respect to Demand No. 4, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 4 and/or cross-checking whether any documents responsive to Demand No. 4 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          42.    In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-

   Counsel, and the TTO Legal Dept. for the purpose of reviewing the documents produced in

   connection with the Prior Searches, identifying documents potentially responsive to Demand No.

   4 and verifying that all potentially responsive documents had previously been produced to the



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   OAG.

          43.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 4, other than those documents that had already been produced by the Trump Organization.

                                           Demand No. 5

          44.    Demand No. 5 calls for “[a]ll documents and communications concerning the

   donation or potential donation of a conservation or preservation easement by [Respondent].” This

   identical demand was set forth in a subpoena dated December 27, 2019 that was previously served

   upon the Trump Organization by the OAG; therefore, the Trump Organization’s prior searches

   and productions encompassed the items responsive to this demand.

          45.    With respect to Demand No. 5, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 5 and/or cross-checking whether any documents responsive to Demand No. 5 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          46.    In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-

   Counsel, and the TTO Legal Dept. for the purpose of reviewing the documents produced in

   connection with the Prior Searches, identifying documents potentially responsive to Demand No.



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   4 and verifying that all potentially responsive documents had previously been produced to the

   OAG.

          47.     Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 5, other than those documents that had already been produced by the Trump Organization.

                                            Demand No. 6

          48.     Demand No. 6 calls for “[a]ll documents and communications concerning any

   planned or potential development or alteration of the Seven Springs Estate.” This identical demand

   was set forth in a subpoena dated December 27, 2019 that was previously served upon the Trump

   Organization by the OAG; therefore, the Trump Organization’s prior searches and productions

   encompassed the items responsive to this demand.

          49.     With respect to Demand No. 6, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 6 and/or cross-checking whether any documents responsive to Demand No. 6 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          50.     In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, Co-

   Counsel, and the TTO Legal Dept. for the purpose of reviewing the documents produced in



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   connection with the Prior Searches, identifying documents potentially responsive to Demand No.

   6 and verifying that all potentially responsive documents had previously been produced to the

   OAG.

          51.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 6, other than those documents that had already been produced by the Trump Organization.

                                           Demand No. 7

          52.    With respect to Demand No. 7, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 7 and/or cross-checking whether any documents responsive to Demand No. 7 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          53.    In addition, I had numerous discussions with TTO Co-Counsel, Prior Counsel, and

   the TTO Legal Dept. for the purpose of reviewing the documents produced in connection with the

   Prior Searches, identifying documents potentially responsive to Demand No. 7 and verifying

   whether potentially responsive documents had previously been produced to the OAG.

          54.    Further, with respect to item 7 of the Subpoena, which calls for “all documents and

   communications with Forbes Magazine…,” I confirmed that all communications and documents



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   with Forbes Magazine had been produced to the OAG through August 14, 2021.

          55.    In particular, through conversations with Prior Counsel, TTO Legal Dept., and TTO

   IT Dept., I confirmed that the Trump Organization had performed searches for all communications

   and documents with Forbes Magazine in response to the NYDA subpoena, which covered through

   the period of August 14, 2021. The custodial documents for Respondent produced to the NYDA

   on February 2, 2022 were the following: TTO_05324574 through TTO_05347249. These

   documents were subsequently reproduced to the OAG by the Trump Organization.

          56.    To supplement this search, on March 16, 2022, I coordinated with the Trump

   Organization’s IT team to commence a search for any responsive documents to Demand No. 7

   (regarding Forbes Magazine) for the time period from January 1, 2021 through March 16, 2022.

   Search parameters included the term “forbes” and communications with “forbes.com” e-mail

   addresses, and the e-mail addresses of ten Trump Organization individuals were searched,

   including Alan Garten, Eric Trump, Donald Trump, Jr., Allen Weisselberg, Amanda Miller, Kim

   Benza, Jeffrey McCooney, Patrick Birney, Ray Flores and Deborah Tarasoff.

          57.    The search returned 1,386 documents and/or communications. Three employees of

   my firm, in coordination with HaystackID, reviewed these items as to whether they were

   responsive to Demand No. 7. After a full, complete and diligent search, it was determined that

   none of the documents were responsive.

          58.    Additionally, I searched the chron files and did not find any documents responsive

   to the Subpoena which had not already been produced.

          59.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 7, other than those documents that had already been produced by the Trump Organization.



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                                             Demand No. 8

          60.    With respect to Demand No. 8, I personally reviewed and analyzed the following

   files, logs and/or documents for the purpose of searching for documents responsive to Demand

   No. 8 and/or cross-checking whether any documents responsive to Demand No. 8 had been

   previously produced by the Trump Organization to the OAG: (i) Respondent’s chron files; (ii)

   attorney work product provided by TTO Co-Counsel and the TTO Legal Dept. which summarized,

   organized and identified with particularity the documents produced by the Trump Organization to

   the OAG; (iii) relevant search terms utilized in the Prior Searches; (iv) prior subpoenas served

   upon the Trump Organization by the OAG; (v) relevant portions of the Trump Organization’s prior

   document productions to the OAG; and (vi) weekly status reports provided by TTO Co-Counsel

   to the OAG.

          61.    Demand No. 8 of the Subpoena calls for “[a]ll documents relating to your financial

   condition or that of the Trump Organization reviewed, used, shared, or relied on in obtaining or

   renewing insurance coverage for you and/or the Trump Organization, including without limitation

   all Statements of Financial Condition disclosed to insurance underwriters or insurance brokers,

   and all communications relating to any of the foregoing.” I cross-checked the search terms used

   by the Trump Organization in connection with its searches in response to the prior OAG

   subpoenas, which included, without limitation, the following search terms:

          Statement of Financial Condition
          Personal financial statement
          PFS
          DJTFS
          DJT FS
          Personal financial
          SOFC
          DJT SOFC

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          DJT W/5 SOFC
          f/s
          Financial statement
          Compilation
          balance sheet
          Trump National AND (LA or Los Angeles)
          TNGCLA or TNGC LA
          Palos
          Verdes
          Tower w/5 worth, valu*
          TWT w/5 worth, valu*
          Trump Park" w/5 valu*
          555 Cal*" w/5 valu*
          Nike w/5 valu*
          502 Park" w/5 valu* S
          cotland w/5 worth, valu*
          40 Wall" w/5 valu*
          Mar-a-lago" w/5 worth, valu*
          Trump Parc" w/5 valu*
          845* w/5 worth, valu*
          Aberdeen w/5 worth, valu*
          Bedminster w/5 worth, valu*
          Charlotte w/5 worth, valu*
          Colts Neck w/5 worth, valu*
          Doral w/5 worth, valu*
          Washington DC w/5 worth, valu*
          Ferry Point w/5 worth, valu*
          Las Vegas w/5 worth, valu*
          Turnberry w/5 worth, valu*
          Doonbeg w/5 worth, valu*
          Hawaii w/5 worth, valu*
          TIHT w/5 worth, valu*
          OPO w/5 worth, valu*
          Pine Hill w/5 worth, valu*
          Philadelphia w/5 worth, valu*
          Winery w/5 worth, valu*

   In addition, specific searches were previously performed by the Trump Organization with respect
   to the following items:

      •   Budgets, income statements, financial statements, balance sheets, and similar documents
          reflecting the financial performance of, or financial projections for, TTO golf or other club
          properties whose value is incorporated into SOFC produced by TTO to the DANY.
      •   Documents reflecting financial performance of, or financial projections for, Trump
          Organization club properties.


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      •   All documents and communications relating to the negotiation, closing, or modification of
          any loan secured by any property identified on the SoFC

   Based on the use of these search terms and parameters, the documents responsive to Demand No.

   8 of the Subpoena would have been produced to the OAG in connection with the Trump

   Organization’s prior searches.

          62.    Based on the foregoing, together with my firm’s collective search efforts, I

   determined that Respondent was not in any possession of any documents responsive to Demand

   No. 8, other than those documents that had already been produced by the Trump Organization.

                                            Stipulation

          63.    On behalf of Respondent, I hereby stipulate that the Trump Organization-produced

   documents can be used as if those documents were produced by Respondent because they were

   under Respondent’s “control,” in that they were documents in the possession of a company owned

   or controlled by a Respondent or a Trust owned by him, to the extent allowable by law. In so

   stipulating, Respondent does not waive any objections to such documents or the introduction of

   those documents in evidence that he would otherwise have if he had produced those documents

   solely because they were in the custody or control of a company owned or controlled by him or a

   Trust owned by him.




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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NEW YORK

    PEOPLE OF THE STATE OF NEW YORK, by LETITIA                      Index No. 451685/2020
    JAMES, Attorney General of the State of New York,

                           Petitioner,

                   v.
                                                                              AFFIDAVIT
    THE TRUMP ORGANIZATION, INC.; DJT HOLDINGS
    LLC; DJT HOLDINGS MANAGING MEMBER LLC;
    SEVEN SPRINGS LLC; ERIC TRUMP; CHARLES
    MARTABANO; MORGAN, LEWIS & BOCKIUS, LLP;
    SHERI DILLON; DONALD J. TRUMP; IVANKA
    TRUMP; AND DONALD TRUMP, JR.,

                           Respondents.


   I, Donald J. Trump, being duly sworn, state as follows:

          1.      I am a named Respondent in the above-captioned matter. I submit this affirmation

   in accordance with the Court’s Order dated April 29, 2022 (the “Order”).

          2.      I have personally reviewed the subpoena issued by the Office of the Attorney

   General (the “OAG”) dated December 1, 2021 (the “Subpoena”).

          3.      I have had numerous discussions with my attorney, Alina Habba, regarding the

   Subpoena. We also met in-person at Mar-a-Lago on March 17, 2022 to review and discuss the

   Subpoena.

          4.      Since at least January 1, 2010, it has been my customary practice to not keep any

   documents, files, or papers relating to my business activities in my private residences.

          5.      Nevertheless, in an abundance of caution and in accordance with the Order, I

   authorized the additional, follow-up searches to be performed on my private residences:

               a. On May 4, 2022, I authorized my attorney, Alina Habba, to search my private


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                   residence and personal office located at Trump National Golf Club in Bedminster,

                   New Jersey for any and all documents responsive to the Subpoena.

               b. On May 5, 2022, I authorized Alina Habba to search my private residence and

                   personal office located at The Mar-a-Lago Club in Palm Beach, Florida for any and

                   all documents responsive to the Subpoena.

               c. On May 5, 2022, I authorized Alan Garten, General Counsel for the Trump

                   Organization, to search my private apartment located in Trump Tower in New

                   York, New York for any and all documents responsive to the Subpoena.

          6.       As for documents kept in my regular course of business with the Trump

   Organization, these documents would be in the possession, custody and/or control of the Trump

   Organization.

          7.       Since at least January 1, 2010, it has been my customary practice to delegate

   document handling and retention responsibilities to my executive assistants.

          8.       My understanding is that, if any corporate records were kept, they would be

   exclusively in the corporate offices of the Trump Organization. I believe these documents would

   be stored in:

               a. My ‘chron’ files;

               b. My hard copy calendars;

               c. The files in the cabinets located outside my office;

               d. The storage room by my office and the Executive Office storage closet; and

               e. The file cabinets located on the 26th floor.

          9.       To the extent there are any documents responsive to the Subpoena, it is my firm

   belief that they would have been kept in the above-listed locations in the regular course of business.



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            10.      It is my understanding that searches of the above-listed locations have been

   performed by my attorneys, the Trump Organization Legal Department, the Trump Organization

   IT Department, and others.

            11.      I am not currently in possession of any Trump Organization-issued phones,

   computers or similar devices. I believe the last phone or device I was issued by the Trump

   Organization was a cell phone in 2015. I no longer have the cell phone in my possession and I am

   not aware of its current location.

            12.      Since January 1, 2010, I previously owned two flip phones and a Samsung mobile

   phone.

                  a. I do not have the two flips phones in my possession and I do not know their current

                     whereabouts.

                  b. I took the Samsung with me to the White House and it was taken from me at some

                     point while I was President. I do not have the Samsung in my possession and I do

                     not know its current whereabouts.

            13.      Currently, I own two personal mobile phones:

                  a. I have an iPhone which I have owned for several years and is for my personal use.

                  b. I also have a new phone which I was recently given by Truth Social just last week.

                     I use this phone exclusively for posting on Truth Social and no other purpose. I

                     have never placed or received a call, sent or received a text message, or used this

                     phone in any other manner.

            14.      I previously submitted my iPhone to be searched and imaged on March 21, 2022.

            15.      In an abundance of caution, and in accordance with the Order, I recently

   resubmitted my cell phone to be searched and imaged again in early May 2022.



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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NEW YORK

    PEOPLE OF THE STATE OF NEW YORK, by                       Index No.: 451685/2020
    LETITIA JAMES, Attorney General of the State of
    New York,

                          Petitioner,

           -against-
                                                                       CERTIFICATE OF
    THE TRUMP ORGANIZATION, INC.; DJT                                   CONFORMITY
    HOLDINGS LLC; DJT HOLDINGS MANAGING
    MEMBER LLC; SEVEN SPRINGS LLC; ERIC
    TRUMP; CHARLES MARTABANO; MORGAN,
    LEWIS & BOCKIUS, LLP; SHERI DILLON;
    MAZARS USA LLC; DONALD J. TRUMP;
    DONALD TRUMP, JR.; and IVANKA TRUMP,

                         Respondents.


          ALINA HABBA, ESQ., an attorney duly admitted and licensed to practice law before the

   Courts of the State of New York, certifies the following under penalties of perjury:

          1.      I am the managing partner of Habba Madaio & Associates LLP, counsel of record

   for respondent, Donald J. Trump, in the above-reference matter. I am an attorney duly admitted to

   practice in the State of New York.

          2.      I make this declaration pursuant to CPLR § 2309(c) to certify that, based upon my

   review, the attached Affidavit of Donald J. Trump was sworn to before Jose Paulo Lozano, a

   Notary Public in the State of Florida, in a manner prescribed by the laws of Florida, and that it

   duly conforms with all such laws and is in all respects valid and effective in Florida.



   Dated: May 6, 2022                            ____________________________________
          New York, New York                     Alina Habba, Esq.
                                                 HABBA MADAIO & ASSOCIATES LLP




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                                                                                             Ex. 1_060
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                                        SCHEDULE A
               List of Persons Who Supervised/Participated in Subpoena Compliance


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      4. Alan Garten, Esq.
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